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 1   Donald Ridge, Esq. (SBN: 132171)
     CLARK HILL LLP
 2   555 South Flower Street, 24th Floor
 3   Los Angeles, CA 90071
     Telephone: (213) 891-9100
 4   Facsimile: (213) 488-1178
     DRidge@clarkhill.com
 5

 6
     Attorney for Plaintiffs
     Pinkerton Tobacco Co., LP,
 7   Swedish Match North America LLC,
     and NYZ AB
 8
     John E. Lord (SBD: 216111)
 9   ONE LLP
10   23 Corporate Plaza Drive, Suite 150-105
     Newport Beach, CA 92660
11   Telephone: (949) 502-2870
     Facsimile: (949) 258-5081
12   jlord@onellp.com
13
     Attorney for Plaintiff
14   Helix Innovations GmbH
15
                          UNITED STATES DISTRICT COURT
16
                        CENTRAL DISTRICT OF CALIFORNIA
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19   PINKERTON TOBACCO CO., LP,                    Case No. 2:20-cv-1322-SB-MRWx
     SWEDISH MATCH NORTH
20   AMERICA LLC, NYZ AB, and WM17                 REPRESENTATION
21   HOLDING GMBH,                                 STATEMENT
                                                   [F.R.A.P. 12(b); Circuit Rule 3-2(b)]
22                           Plaintiffs,
                                                   [HON. STANLEY BLUMENFELD, JR.]
23        v.
24   THE ART FACTORY AB, TILLCE AB,
     KRETEK INTERNATIONAL, INC., and
25   DRYFT SCIENCES, LLC,
26
                             Defendants.
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 1
                              REPRESENTATION STATEMENT
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           The undersigned represents Plaintiffs/Appellants, Pinkerton Tobacco Co., LP,
 3
     Swedish Match North America LLC, and NYZ AB in this matter. Below is a list of all
 4
     counsel for the respective parties to the above-captioned action, identified by name, firm,
 5
     address, and telephone number. F.R.A.P. 12(b); Circuit Rule 3-2(b).
 6

 7
     Donald Ridge, Esq. (SBN: 132171)             David S. Bloch (SBN: 184530)
 8   CLARK HILL LLP                               GREENBERG TRAURIG, LLP
 9
     555 South Flower Street, 24th Floor          Four Embarcadero Center, Suite 3000
     Los Angeles, CA 90071                        San Francisco, CA 94111
10   Telephone: (213) 891-9100                    Telephone: (415) 655-1300
     Facsimile: (213) 488-1178                    Facsimile: (415) 707-2010
11   DRidge@clarkhill.com                         blochd@gtlaw.com
12   Timothy J. May (Pro Hac Vice)                Scott J. Bornstein
13   Bryan C. Diner (Pro Hac Vice)                Brian J. Prew
     Elizabeth Niemeyer (Pro Hac Vice)            GREENBERG TRAURIG, LLP
14   D. Brian Kacedon (Pro Hac Vice)              200 Park Avenue
     Caitlin E. O’Connell (Pro Hac Vice)          New York, NY 10166
15   Paul W. Townsend (Pro Hac Vice)              Telephone: (212) 801-9200
16
     Elliott T. LaParne (Pro Hac Vice)            Facsimile: (212) 801-6400
     FINNEGAN, HENDERSON,                         bornsteins@gtlaw.com
17   FARABOW, GARRETT &                           prewb@gtlaw.com
     DUNNER, LLP
18   901 New York Avenue, NW                      Colin W. Fraser
     Washington, D.C. 20001                       GREENBERG TRAURIG, LLP
19   Telephone: (202) 408-4000                    18565 Jamboree Road, Suite 500
20   Facsimile: (202) 408-4400                    Irvine, CA 92612
     Tim.May@finnegan.com                         Telephone: (949) 732-6500
21   Bryan.Diner@finnegan.com                     Facsimile: (949) 732-6501
     Elizabeth.Niemeyer@finnegan.com              fraswercw@gtlaw.com
22   Bryan.Kacedon@finnegan.com
23
     Caitlin.OConnell@finnegan.com                Vivian S. Kuo
     Paul.Townsend@finnegan.com                   GREENBERG TRAURIG, LLP
24   Elliott.LaParne@finnegan.com                 2101 L Street NW, Suite 1000
                                                  Washington, D.C. 20037
25   Erik R. Puknys (SBN: 190926)                 Telephone: (202) 331-3158
     FINNEGAN, HENDERSON,                         Facsimile: (202) 331-3101
26   FARABOW, GARRETT &                           kuov@gtlaw.com
27   DUNNER, LLP
     3300 Hillview Avenue
28   Palo Alteo, CA 94304-1203                    Attorneys for Defendants
     Telephone: (650) 849-6600                    Kretek International, Inc. and
                                                  2
Case 2:20-cv-01322-SB-MRW Document 252-1 Filed 02/07/22 Page 3 of 3 Page ID #:6581



 1   Facsimile: (650) 849-6666                 Dryft Sciences, LLC
     Erik.Puknys@finnegan.com
 2

 3   Attorney for Plaintiffs
     Pinkerton Tobacco Co., LP,
 4   Swedish Match North America LLC,
     and NYZ AB
 5

 6
     John E. Lord (SBN: 216111)
     ONE LLP
 7   23 Corporate Plaza Drive, Suite 150-105
     Newport Beach, CA 92660
 8   Telephone: (949) 502-2870
     Facsimile: (949) 258-5081
 9   jlord@onellp.com
10
     George D. Moustakas (Pro Hac Vice)
11   Harness Dickey and Pierce PLC
     5445 Corporate Drive, Suite 2000
12   Troy, MI 48098
13
     Telephone: (248) 641-1600
     Facsimile: (248) 641-0270
14   gdmoustakas@harnessip.com
15   Attorneys for Plaintiff
     Helix Innovations GmbH
16

17

18

19   Dated: February 7, 2022              CLARK HILL LLP
20

21
                                          By: /s/ Donald L. Ridge
                                          Donald L. Ridge
22
                                          Attorneys for Plaintiffs
23                                        Pinkerton Tobacco Co., LP, Swedish Match North
                                          America LLC, and NYZ AB
24

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27

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                                               3
